 

Case 1:17-cv-O7935-GBD Document 11 Filed 12/08/17 Page 1 of 3

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

X
SAMUEL RIVERA, JR., Civil #: l:l7-CV-7935
Plaintiff, ANSWER
-against- Jury Trial Demanded
DAVID GEORGE GARDNER, JR. and
EAN HOLDINGS, LLC,
Defendants.
X

 

Defendant, DAVlD GEORGE GARDNER, JR. h/r/a (“GARDNER”), by his attorneys, RIVKIN
RADLER LLP, respectfully submits the following upon information and belief as and for his answer to plaintiff ’s
complaint:

A. PARTIES

l. Defendant, GARDNER, denies having knowledge or information sufficient to form a belief as to
each and every allegation contained in paragraphs “l,” “3,” “4,” “5,” “6,” and “7” of the plaintiff ’s complaint.

2. Defendant, GARDNER, denies each and every allegation contained in paragraph “2” of the

plaintiff ’s complaint in the form alleged except admits that defendant, GARDNER, is a resident of the State of

New York.
B. JURISDICTION
3. Defendant, GARDNER, denies each and every allegation contained in paragraphs “8” and “9” of

the plaintiff ’s complaint in the form alleged and respectfully refers all questions of law to this Honorable Court.
C. FACTS

4. Defendant, GARDNER, denies each and every allegation contained in paragraph “10” of the

plaintiff’s complaint in the form alleged.
D. COUNT 1 - NEGLIGENCE

5. Defendant, GARDNER, denies each and every allegation contained in paragraph “ll” of the

 

 

Case 1:17-cv-O7935-GBD Document 11 Filed 12/08/17 Page 2 of 3

plaintiff’s complaint.
F. DAMAGES
6. Defendant, GARDNER, denies each and every allegation contained in paragraph “12” of the

plaintiff’s complaint and respectfully refers all questions of law to this Honorable Court.

G. PRAYER
7. Defendant, GARDNER, denies each and every allegation contained in paragraph “13” of the

plaintiff ’s complaint.
AS AND FOR A FIRST AFFIRMATIVE DEFENSE
8. If plaintiff did sustain injuries as alleged in the complaint, which the defendant, GARDNER,
specifically denies, such injuries were caused, in whole or in part, or were contributed to, by reason of the acts,
omissions, wrongs, carelessness, negligence, want of care and culpable conduct of the plaintiff and not by any
acts, omissions, wrongs, carelessness, negligence, want of care, culpable conduct of the defendant, GARDNER,
and plaintiff ’s recovery, if any, should be barred or reduced in accordance with the doctrine of comparative
negligence
AS AND FOR A SECOND AFFIRMATIVE DEFENSE
9. Upon information and belief, any past or future costs or expenses incurred or to be incurred by
the plaintiff for medical care, dental care, custodial care, rehabilitative services, loss of earnings was or will be
replace or indemnified, in whole or in part, from collateral sources as defined in CPLR § 4545(0).
AS AND FOR A THIRD AFFIRMATIVE DEFENSE
10. The plaintiff cannot recover “Basic Economic Loss” as defined by the New York State Insurance

Law.

 

 

Case 1:17-cv-O7935-GBD Document 11 Filed 12/08/17 Page 3 of 3

WHEREFORE, defendant, DAVID GEORGE GARDNER, JR., demands judgment dismissing the

plaintiff ’s complaint herein, together with the costs and disbursements of this action.

Dated: Uniondale, New York

TO:

December 7, 2017
Yours, etc.,

RIVKlN RADLER LLP
Attys. for Defendant
DA VID GEORGE GARDNER, JR.

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Au Parries vIA ECF (Pacer)

 

